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                 UNITED STATES DISTRICT COURT FOR THE
                      DISTRICT OF NEW HAMPSHIRE
––––––––––––––––––––––––––––––– X

Laurie Ortolano,                                :
                                    Plaintiff   :
                                                :
                                                          1:22-cv-00326-LM
                      v.                        :
                                                :
The City of Nashua, New Hampshire, et al. :
                                 Defendants     :


––––––––––––––––––––––––––––––– X

              JOINT RENEWED MOTION TO CONTINUE WITH
                A PROPOSED SCHEDULE FOR DEADLINES

      Plaintiff Laurie Ortolano respectfully files this Joint Renewed Motion to
Continue with a Proposed Schedule for Deadlines as suggested by the Court. In
support of this motion, Plaintiff states the following.
      1.      The parties filed an Assented-To Motion to Extend Case Deadlines
[Doc. No. 59] on September 18, 2023.
      2.      As part of its Order granting Donchess’s and Griffin’s Motion for
Judgment on the Pleadings [Doc. No. 61], the Court denied the parties’ Motion to
Extend Deadlines on September 28th but stated, “[T]he parties may file a renewed
motion to continue with a proposed schedule.” [Doc. No. 61, p. 28]
      3.      The parties agreed to the proposed schedule during a conference call,
and counsel have advised their clients of the request to extend the trial deadline.
      4.      Attached to this Motion is the parties’ proposed schedule for deadlines.

      WHEREFORE, all parties respectfully requests that this Court:

      A.      Allow the Joint Renewed Motion to Continue with a Proposed Schedule
for Deadlines.
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          B.      Grant such further relief as justice requires.


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   Inception Technologies, Inc.

                                    PROOF OF SERVICE

   I hereby certify that I served a copy of this JOINT RENEWED MOTION TO
CONTINUE WITH A PROPOSED SCHEDULE FOR DEADLINES by CM/ECF on
this 25th day of October 2023, on all counsel or parties of record.

                                             By: /s/ Kurt S. Olson
                                                Kurt S. Olson
